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                           IN THE UNITED STATES DISTRICT COURT
                          FOR THE MIDDLE DISTRICT OF LOUISIANA

 DR. DOROTHY NAIRNE, JARRETT
 LOFTON, REV. CLEE EARNEST LOWE, DR.
 ALICE WASHINGTON, STEVEN HARRIS,
 ALEXIS CALHOUN, BLACK VOTERS
 MATTER CAPACITY BUILDING
 INSTITUTE, and THE LOUISIANA STATE
 CONFERENCE OF THE NAACP,                             CIVIL ACTION NO. 3:22-cv-00178
                                                      SDD-SDJ
            Plaintiffs,

 v.

 R. KYLE ARDOIN, in his official capacity as
 Secretary of State of Louisiana

            Defendant.



                                             EXHIBIT LIST


Exhibit A: Email from M. Keenan to P. Strach, et al. (Dec. 17, 2024)




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